Case 1:17-cv-01525-DLF Document 1-1 Filed 07/28/17 Page 1 of 12




                                                                  EXHIBIT A
Case 1:17-cv-01525-DLF Document 1-1 Filed 07/28/17 Page 2 of 12
Case 1:17-cv-01525-DLF Document 1-1 Filed 07/28/17 Page 3 of 12
Case 1:17-cv-01525-DLF Document 1-1 Filed 07/28/17 Page 4 of 12
Case 1:17-cv-01525-DLF Document 1-1 Filed 07/28/17 Page 5 of 12
Case 1:17-cv-01525-DLF Document 1-1 Filed 07/28/17 Page 6 of 12
Case 1:17-cv-01525-DLF Document 1-1 Filed 07/28/17 Page 7 of 12
Case 1:17-cv-01525-DLF Document 1-1 Filed 07/28/17 Page 8 of 12
Case 1:17-cv-01525-DLF Document 1-1 Filed 07/28/17 Page 9 of 12
Case 1:17-cv-01525-DLF Document 1-1 Filed 07/28/17 Page 10 of 12
Case 1:17-cv-01525-DLF Document 1-1 Filed 07/28/17 Page 11 of 12
Case 1:17-cv-01525-DLF Document 1-1 Filed 07/28/17 Page 12 of 12
